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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO


Civil Action No. __1:25-cv-00425 STV

TINA M. PETERS,

             Applicant,

             v.

MOSES "ANDRE" STANCIL in his official capacity as the Executive Director
of the Colorado Department of Corrections, and PHILIP J. WEISER, in his
official capacity as Attorney General of the State of Colorado,

          Respondents
__________________________________________________________________


     APPLICANT’S OPPOSED MOTION TO APPEAR REMOTELY AT
                    HEARING APRIL 22, 2025


      Tina M. Peters, through counsel, moves this court to allow Applicant to

appear remotely at the hearing in this court on April 22, 2025, at 1:45 p.m.

      Certification: The undersigned conferred with all counsel concerning this

motion. The United States of America does not oppose this motion. Respondents

oppose this motion.

      In support of this Motion, Applicant shows the Court as follows:



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      1.     Applicant Tina Peters DOC# 203512 is incarcerated at Denver

      Women’s Correctional Facility located at 3600 Havana St. Denver CO

      80239, telephone (303) 371-4804.

      2.     The Court has implemented technology to allow one or more

      participants to appear virtually.

      3.     While the hearing April 22, 2025, will involve legal issues, those

      issues affect Ms. Peters’ liberty interests, and she would like to attend the

      hearing remotely.

      4.     It is within the Court’s sound discretion whether to allow Applicant to

      attend remotely by coordinating with the Denver Women’s Correctional

      Facility.

      WHEREFORE, Applicant respectfully requests that this Court grant the

Motion to Appear Remotely for the hearing April 22, 2025.

      Respectfully submitted this 13th day of April, 2025.

 /s/ John Case                            Patrick M. McSweeney
 John Case                                Robert J. Cynkar
 John Case, P.C.                          McSweeney, Cynkar & Kachouroff, PLLC
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                       Co-Counsel for Applicant Tina Peters

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                          CERTIFICATE OF SERVICE

I hereby certify that on April 13, 2025, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will cause an electronic copy

of same to be served on opposing counsel via the email addresses that opposing

counsel has registered with the Court’s ECF system.

                                                     s/ Linda Good




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